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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
L. LIN WOOD, JR., )
Plaintiff, )
y. ) CIVIL ACTION FILE NO,
)  1:20-ev-04651-SDG
BRAD RAFFENSPERGER, in his)
official capacity as Secretary of State )
of the State of Georgia, et al., )
Defendants. )
)

 

ATTORNEY DECLARATIONS
I, Ray S. Smith, HI, declare as follows

1. | Iam counsel for the plaintiff in the above captioned matter.

2. Ihave personal knowledge of the following matters identified in this
declaration and if requested by the Court, can testify to the substance contained in
this declaration.

3. The purpose of this declaration is to provide a summary of election
data compiled by the State of Georgia concerning mail in ballots and rejection rates

of mail in ballots.

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4. The data itself was derived online from the Elections Division
webpage contained in Georgia's Secretary of State's website. The data constitute
official records which are public and publicly available online.

5. While I did not create or compile the source of the data—the State of
Georgia's Elections Division did—I am familiar with accessing files on the internet
generally, including those provided by state and federal governments. I am also
proficient with zip files and Microsoft Excel spreadsheets.

6. | Onor about November 18, 2020, I downloaded zipped files
containing state compiled mail-in ballot data for years 2016 through 2020. These
zipped files contain excel spreadsheet reports which are easily accessible at
https://elections.sos.ga.gov/Elections/voterabsenteefile.do.

7. After downloading the zipped files, I extracted the excel spreadsheets
and compiled a summary of the data contained in the files for years 2016, 2018,
and 2020. I also examined those files which are fairly simple to comprehend. The
Court or opposing counsel can easily repeat this process.

8. This declaration is a summary of Georgia's public data. This summary
is extremely helpful because the data files are voluminous and cannot be

conveniently examined in Court.

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9. | Asummary of the data files for various years which I downloaded is
represented in Table 1 and summarizes various election data contained in the State
of Georgia's Elections Division.

Table 1: Mail-In Ballot Rejection rates by Election.

 

 

 

 

Cast | Rejected _: Rejection Rate. % diff vs. 2020) Exp Vote diff
2016 General 208,620 6,382 306% 2.738%! _35827.05096
2018 General 227,718  —- 8,157 3.58% 3.261% 42668.33238
2020Primary} 1,164,044 11,864 1.02% «0.698%. 9138,32618
2020 General 1,308, 306: 4,196 0.32% na na

 

 

10. As Table 1 shows, Georgia's rate of rejection for mail-in ballots
averaged 3.06% and 3.58% respectively for the 2016 and 2018 general elections.

11. Concerning the 2020 primary election, however, the mail-in ballot
rejection rate decreased to 1.02%.

12. In stark contrast to the 2020 primary, the 2020 general election
rejection rate decreased even further to just 0.32%.

13. The .32% rejection rate represents an approximate 90% decrease in
the rate of mail-in ballot rejections compared to the 2016 and 2018 general
elections.

14. The .32% rejection rate appears to be the lowest mail-in ballot
rejection rate in the history of the state of Georgia while the number of mail-in

ballots is at an historic high.

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15. Excluding canceled ballots, the data tables show that the number of
mail-in ballots cast in Georgia exploded from just over 200,000 in the 2016 and
2018 elections to more than 1.3 million in the 2020 general election—an increase
of nearly 500%.

16. If Georgia’s historical mail-in ballot rejection rate of 3.06-3.58% is
applied to the current mail in ballot numbers, there would have been between
40,034 and 46,837 ballots rejected in the 2020 general election.

17. Instead, just 4,196 ballots (0.32%) were rejected—35,838 to 42,641
fewer than historical rates.

18. As of November 17, the number of votes separating the top two
candidates for President of the United States is 13,977.

19. Thus, the additional ballots one would have expected to be rejected is
significant as it easily exceeds the current margin of separation.

20. Applied to the 2020 General Election, the historical rejection rate for
improper or illegal ballots would have changed the outcome.

21. Even using the 2020 Primary Election’s lower rejection rate of 1.02%,
one would have expected to see 13,345 ballots rejected, or 9,149 more than were
actually rejected. Depending on the final results of the State’s current hand

recount, this margin could also have proved decisive in the election contest.

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22. Upon extracting excel files from their zip folders, I note that they do
not contain consistent or complete information showing the reasons why ballots
may have been rejected. The paucity of reasons for ballot rejection contained in
these files is either due to a failure in Georgia's management to reliably collect that
information, or the Secretary of State has never disaggregated this data clearly and
made such additional data available to the public.

23. For example, it does not appear possible—based on the State's publicly
records which it has published and made available to the public online—to explain

the number of ballots rejected for reasons such as a lack of signature match.

 

 

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